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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


RICHARD GRISSOM,

               Plaintiff,

               v.                                           CASE NO. 19-3178-SAC

ANDREW J. PALM, et al.,

               Defendants.


                                            ORDER

       Plaintiff, a state prisoner appearing pro se and in forma pauperis, filed this civil rights

complaint pursuant to 42 U.S.C. § 1983. This matter is before the Court on the Kansas Department

of Correction’s (“KDOC”) Motion for Leave to File Certain Exhibits to the Martinez Report Under

Seal (Doc. 22). The KDOC seeks to file Exhibits W and X under seal. The KDOC asserts that the

two exhibits were inadvertently omitted from the previous motion to file under seal. The Court

grants the motion.

       IT IS THEREFORE ORDERED BY THE COURT that the KDOC’s Motion for Leave

to File Certain Exhibits to the Martinez Report Under Seal (Doc. 22) is granted. The KDOC is

granted leave to file Exhibits W and X under seal.

       IT IS SO ORDERED.

       Dated September 17, 2020, in Topeka, Kansas.

                                             S/ Sam A. Crow
                                             SAM A. CROW
                                             SENIOR U. S. DISTRICT JUDGE




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